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  From:
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  Sent:             Wednesday, April 27, 2016 11:40 AM
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  Subject:          AJE Update on Community Outreach / EPA Tarrant Activities / Etc. (Attorney Client
                    Communication / Privileged & Confidential)


  Attorney Client Communication / Privileged & Confidential

  Community Outreach Activities

  Over the course of the next several days, Get Smart will be following up with the Tarrant residents that had their
  property sampled by EPA in February to inquire as to whether EPA has sent them the sampling results from the sampling
  and, if so, did EPA provide what those results meant and any indication as to how EPA plans to proceed with regard to its
  investigation of the GASP petition area.

  In addition, per Get Smart's letter to Representative Palmer providing the various affidavits, Representative Palmer and
  his staff will be meeting with Get Smart today to discuss the affidavits and obtaining video testimony from several of
  those residents for use in a congressional presentation in DC highlighting EPA's questionable activities in Birmingham
  and elsewhere. At this time, Get Smart has not been contacted by the City of Tarrant with regard to its letter to the City.

  We have learned that a documentary has been developed concerning Collegeville, environmental justice issues, and
  Collegeville resident's accounts of living in an area that has been designated as a Superfund site. The documentary is to
  be initially featured at Birmingham's 18th Annual Sidewalk Film Festival in August and is being considered for featuring in
  the Harlem Film Festival in September, 2016 and the Sundance Film Festival in January, 2017. Based on information I
  have received from City contacts, it appears that the City of Birmingham funded the production of the documentary.
  We are still trying to verify this and obtain a copy of the film prior to the August film festival.

  EPA Activities

  Finally, this past weekend, several contacts had meetings with EPA officials at DC headquarters to inquire about the
  progress of EPA's investigation of the GASP petition area. Per that discussion, it appears that the DC office is becoming
  concerned about the allocation of resources related to the investigation of Tarrant, particularly given the first round of
  sampling results and the fact that the local government and community have made it clear that they do not want EPA
  investigating Tarrant. According to our contacts, the DC office provided that they are presently talking to Region 4 to
  see what Region 4's proposed strategy is going forward in the Tarrant investigation and determine whether they (the
  DC office) agree. It was provided that the DC office's present thoughts are that given the initial round of Tarrant
  sampling did not look promising, Region 4 needed to refocus its efforts on the North Birmingham superfund site and
  look to expanding it south into the Norwood/Kingston area where EPA initially intended to go. This strategy is
  supported by the fact that the City of Birmingham wants them in the city and that the samples taken recently in
  Norwood and Kingston would support the expansion of the North Birmingham superfund site south into these areas. In
  addition, there was other information provided that indicated that irrespective of what EPA collectively (i.e., Region 4 &
  DC office) determines to do with regard to further investigation of the GASP petition area, EPA has decided to begin
  investigating and include the Norwood/Kingston areas into the North Birmingham Superfund site.

  Let me know if you have any questions on any of the above. Thanks.
  Joel




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